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             Exhibit 
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        1                (WHEREUPON, THIS CAUSE WAS RESUMED AT 1:30

        2                  O'CLOCK P.M. PURSUANT TO ADJOURNMENT.)

        3

        4                  APPEARANCES:    Same as before.

        5

        6                (WHEREUPON, THE JURY WAS BROUGHT INTO THE

        7                  COURTROOM AND THE FOLLOWING PROCEEDINGS

         8                 WERE HAD IN THE PRESENCE AND HEARING OF

         9                 THE JURY:)
       10

       11          THE COURT:     Mr. Gaubas, the State may call its
       12     next witness.
       13          MR. GAUBAS:     Thank you, Your Honor.            Your Honor,
       14     the People would call as their next witness, William
       15     E. Douglas.
       1(-j

<
;:     17
::!                                     WILLIAM E. DOUGLAS
.,.
~      18
              called as a witness herein, having been first duly sworn
N
0

~      19
-i
              on oath, was examined and testified as follows, to-wit:
z

       20

       21          THE COURT:     I'll ask the witness first to be sure
      "22
              and speak up so that everyone can hear your answers.
       23
              Also, I'll     order you not to discuss your testimony with
       24
              anyone after you leave the courtroom.              All right, you may

                                                  -120-
      SAVORY-LL-000421
              1:23-cv-01184-CRL-JEH # 318-13   Filed: 04/22/24   Page 3 of 45




        1    proceed, Mr. Gaubas.

        2

        3    DIRECT EXAMINATION BY MR. GAUBAS:

        4           Q    Thank you, Your Honor.        Please state your name

        5    and spell your last name and address for the jurors and

        6    Court?

        7           A    William E. Douglas, D-o-u-g-1-a-s.

        8           Q    Mr. Douglas, what is your present address?

        9           A    4010 War Memorial Drive.

       10           Q    Who lives with you at that address?

       11           A    Noyalee Robinson and Corey Cooper.
       12           Q    Anyone else?
       13           A    No.
       14           Q- What is your occupation, Mr. Douglas?

       15           A    Delivery service.
       lG           Q    For whom in particular do you work?
<
;:     17
=                   A    T. W. Parks Colonial Chapels.
:E

"'~    18           Q    How long have you been so employed, Mr. Douglas?
"'
0

~      19           A    For the past 3 years.
z
       20           Q    Are you known by any particular nickname other
       21    than William or Bill?
       22                Yes.
                    A
       23                What is that?
                   Q
       24
                   A     Peter.

                                                 -121-
      SAVORY-LL-000422
                                                                   t-375
            1:23-cv-01184-CRL-JEH # 318-13   Filed: 04/22/24   Page 4 of 45




      1          Q     And directing your attention to James Robinson,

      2    Jr. and Connie Cooper, the victims in this case, what if

      3    any relationship are you to them?

      4          A     Their stepfather.

      5          Q     How long had you known each of these children?

      6          A     Approximately 12 years, 10 years.

      7          Q     Approximately 10 years?

      8          A     Yes.

      9          Q     What relationship if any are you to Noyalee

     10    Douglas?

     11          A     Her ex-husband.

     12          Q     How long were you married to her?
     13          A     6 years.
     14          Q     And when if you recall were you divorced?
     15          A     August of '76.
     16          Q     Since that time, August of 1976, did you have
<
~    17    occasion to see Noyalee Douglas and the kids on occasion?
=
~
~

~    18          A     Yes,
N
0

~    19          Q     How often would you estimate you might have seen
z

     20    them between the time of your divorce and the date of
     21    these murders on January 18, 1977?
     22          A     Quite a few times.
     23          Q     Had you ever stayed at the residence, 3033 West
     24
           Garden?

                                              -122-
    SAVORY-LL-000423
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       1          A     Yes.

       2          Q     Overnight?

       3          A     Yes.

       4          Q     Between the time of your divorce and the time

       5    of January 18?

       6          A     Yes.

       7          Q     On the date of January 18, 1977, directing your

       8    attention to that date, were you actually living at the

       9    residence of 3033 West Garden?

      10          A     No, I wasn't living there.

      11          Q     Had you spent the night there?
      12          A     Yes, sir.
      13          Q     When did you first arrive the day before?

      14          A     Approximately 4:15.
      15          Q.    How had you come to be there at the residence
      16    on that date, January 17, 1977?
.
<
      17          A     I picked Noyalee up from work and went by there,
=
."
~     18
..          went to her house •
0
0
~
0
      19          Q     Is there any particular reason you picked her up
~

z

      20    from work on that day?
      21          A     No.
      22          Q     What happened when you got to the house?
      23          A     She fixed something to eat and we ate.
      24
                  Q     Were the kids there at that time?

                                                -123-
     SAVORY-LL-000424
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        1            A   No.

        2            Q   What if anything happened then?

        3            A   I took her to a friend's house, and I went to

        4    the Blue Shadow.       She called me, I picked her up.               We

        5    went and picked Connie and the baby up and went back

        6    home.

        7            Q   Where did you pick Connie and the baby up?

        8            A   Down at a friend of Connie's.            I can't remember

        9    the name of the street down on the south side.

       10        _ Q     Remember the friend's name?

       11            A   Yes.   I'm sorry.

       12            Q   If it comes to you, please let us know.                What
       13    time did you get back that evening if you recall?

       14            A   Approximately 9, somewhere around there.
       15            Q   Had you planned on staying at the home that
       16    night for any particular reason at that point?
.
«
N
       17
=                    A   No, I hadn't at that time.
."
~      18            Q   What if anything happened that evening to change
N
Q


~      19    your mind?
z
..;
z
z
       20            A   Nothing.   Scopie and I were talking and every-
0
>-
:
0
       21    thing, ar~ he asked me to stay, and I stayed.
u



       22            Q   By Scopie, do you mean James Robinson?
       23            A   James, yes.
       24
                     Q   What was your relationship to Scopie?              Did you

                                                 -124-
      SAVORY-LL-000425
            1:23-cv-01184-CRL-JEH # 318-13   Filed: 04/22/24   Page 7 of 45




      1    get along with him?

      2            A   Oh, yes.

      3            Q   Did you ever have any problems with hi~?

      4            A   No.

      5            Q   What was your relationship with Connie at that

      6    time?

      7            A   It was about the same.

      8            Q   Ever have any particular arguments or fights

      9    with either of the kids?

     10            A   No.

     11            Q   Did anything at all unusual happen later on that

     12    evening on the date of January 17, 1977?
     13            A   Unusual?

     14            Q   Do you recall the events of that evening?
     15            A   Yes, um-hum.
     10            Q   What happened after you got back home that
4
~
N
     17    evening?
=
~
~

~    18            A   We sit and watching t.v. and Scopie, Brother
N
0
0
~
0
     19    James, and gentleman there, Johnny Savory, came in the
z
     20    house.      Been out playing, I guess.
     21            Q   Do you recall approximately what time that was
     22    that they came into the house the night of the 17th?
     23
                   A   Approximately 9:30.
     24
                   Q   Had you ever seen this individual that you just

                                               -125-
    SAVORY-LL-000426
                                                                  ~-319
               1:23-cv-01184-CRL-JEH # 318-13   Filed: 04/22/24   Page 8 of 45




         1    named as Johnny Savory before?

         2            A   No.

         3            Q   Were you introduced to him at that time?

         4            A   Yes.   Scopie introduced him to Noyalee and I

         5    both.

         6            Q   Would you recognize this person that you just

         7    named as Johnny Savory again if you would see him again?

         8            A   Yes.

         9            Q   Is he in the courtroom today?

        10            A   Yes, sir.

        11            Q   Would you please point him out and describe what

        12    he is wearing?
        13            A   Gentleman right there in the blue shirt, blue

        14    vest (indicating).

        15            Q   Is it this gentleman, the one I'm now standing
        16    behind?
;:"'    17
=                     A   Yes, sir.
,.
.
~       18            Q   Is this the individual that you saw at that
N
0
0
~
0
        19    house on January 17, 1977, in the evenin~ hours?
z
        20            A   Yes.
        21            Q   What if anything happened after he arrived there
        22    with Scopie that night?
        23            A   I don't know.   They had some pictures or some-
        24
              thing they had both drawn up, and they came in wanting

                                                   -126-
       SAVORY-LL-000427
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        1    ~s to conpare them, and we didn't.                 And I went c~ck

        2    watcting t.v., and they got to Gc~ffli~g over a ~at of

        3    some lrind,        like a ski cap, and No:,ra lee -cold th e1:1 to

        4    stop, and that was it.            He was getting ready to leave.

        5             Q   How long approximately did you estimate that he

        6    ltas there that evening,          the def endan-c?

        7             A   Maybe 20 minutes, 25.

        8             Q   Did you and the defendant talk in particular

        9    that evening?

       10             A   No, no more than, you know, hello.
       11             Q   What if anything happened about the time he was
       12    to leave?
       13
                      A   Nothing.      I was going to start a friend of mine's
       14    car and he had gotten to the door and Scopie said, ha,
       15    ha, you have to walk all the way home.                   So I   asked him,
       16
             you know, I        said, how far does he have to go?              He told
."'
N
       17
c!           me, you know, he said 1 or 2 places he might have been
:,:
"'
~      18
N
             going.       By the time I     got outside, he was out of sight.
0

~      19
~
             I    was going to give him a lift to where he was going,
z

       20
             but by the time I         got outside, he was out of sight.
       21
                      Q   You didn't see him outside the house at all then?
       22
                      A   No.
       23
                      Q   Approximately what time was this that you were
      24
             leaving to---

                                                    -127-
      SAVORY-LL-000428
             1:23-cv-01184-CRL-JEH # 318-13     Filed: 04/22/24   Page 10 of 45




       1           A       10:00 because the news just come on.

       2           Q       II ow long were you gore at that tine?

       3           A       About 1~5 minutes to an hour.

       4           ","'•   Did you come back to the house tl1 en?

        5          A       Yes.

        6          Q       Directly after that?

        7          A       Um-bum.

        8          Q       Did you do anything else if you recall in

        9    particular?

       10          A       No.    I came back and sit down and watching t.v.,

      11     and the television went off and Connie and Noyalee went

      12     to bed,       and I layed on the couch and went to sleep.
      13           Q       Are you familiar with the residence of 3033

      14     West Garden Street?
       15          A       Yes, sir, I am.
       16          Q       Where did Connie and Noyalee, your ex-wife, gQ
..
;:     17    to sleep that evening?
=
,.
"'~
       18          A       They went to sleep in the bedroom, you know,
N
0

~      19    off the hall.           There's 2 of them, but the one straight
z

      20     ahead.
      21           Q       Mr. Douglas, I would direct your attention to
      22     People's Exhibit Number 1 which has been admitted into
      23     evidence,at this point in time, and ask you if this
      24
               diagram truly and accurately portrays the floor plan

                                                   -128-
      SAVORY-LL-000429
            1:23-cv-01184-CRL-JEH # 318-13   Filed: 04/22/24   Page 11 of 45




      1    of the residence at 3033 West Garden?

      2          A     Yes,   it does.

      3          Q     Would you indicate to me if the bedroom where

      4    Connie and the mother were sleeping that night is indic-

      5    ated in anyway on this diagram?             Would you indicate for

      6    the Court and jury which bedroom tha~ would be?

      7          A     Yes, sir.    It would be bedroom number 1.

      8          Q     This bedroom here?

      9          A     Yes, sir.

     10          Q     That was the bedroom that Connie and her mother

     11    slept in that night?

     12          A     Yes.
     13          Q     Where did you sleep that night?

     14          A     On the couch in the living room.
     15          Q     That would be in this area of the house?
     lo          A     Right.    Up against the wall, the wall by the
<
~    17
=          garage there.
~
~

~    18          Q     Up against this   wall right here?
N
0

~    19          A     Yes.
z
     20          Q     And you slept on the couch that night?
     21           A    ~es.
     22          Q     What about Scopie and the baby, William Corey,
     23    where did they sleep?
     24
                 A     They slept in this small area off the kitcheo,

                                               -129-
    SAVORY-LL-000430
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      1    right behind the garage.

      2            Q   This area here?

      3            A   Yes.

      4            Q   What time did you get up the next morning on the

      5    date of January 18, 1977?

      6            A   Approximately 6, 6:15 that morning.

      7            Q   What did you do when you got up?

      8            A   Got up, went in the bathroom and washed up and

      9    everything and dressed and I         started the car, let it warm

     10    up.

     11            Q   What type of vehicle were you driving on that

     12    date?
     13            A   '71 Oldsmobile.

     14            Q   What color was it if you recall?
     15            A   Blue with a black convertible top.
     lG            Q   What happened next after you got up that
C
:    17    morning if anything?
=
~
~

~    18            A   Nothing.   I remember Noyalee going back to the
N
0
~
0
     19    bedroom and saying something to Connie that she was fix-
z

     20    ing to leave and we left for work.
     21            Q   Did you have any direct conversation with either
     22    of the children that morning before you left?
     23
                   A   No, sir.
     24
                   Q   Approximately what time did you estimate that

                                              -130-
    SAVORY-LL-000431
              1:23-cv-01184-CRL-JEH # 318-13   Filed: 04/22/24   Page 13 of 45




        1     you left the residence to go to work that morning?

        2          A     Approximately a quarter to 7.

        3          Q     And where did you go when you left?
                                                        /

        4          A     I went to pick up James Mills.            His car wasn't

         5    running.

         6         1     Who is he?

         7         A     A friend of mine.

         8         Q     Is he an older man?

         9         A     Yes.   Um-hum.

       10          Q     How long have you known him, Mr. Douglas?

       11          A     Approximately 11 years, I think, he has been in

       12     Peoria.
       13          Q     Where did you pick up Mr. Mills that morning?

       14          A     On Martin Street.

       15          Q     What did you do then?
       1 (j        A     We went to the restaurant on Franklin, Ike and
.""
N
       17     Smiley'~ I believe it is, had coffee.
       18          Q     And was your wife still with you, your ex-wife,
N
0

~      19     still with you at that time?
       20           A    Yes.
       21          Q     What happened next?
       22           A    I dropped Mr. Mills off at work and I took
       23     Noya to work, and I went and changed clothes and got
       24     dressed and went to work.

                                                 -131-
      SAVORY-LL-000432
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      1          Q     Where did Mr. Mills work if you recall?

      2          A     Kiefer Electric.

      3          Q     And where did Noy~lee Douglas work?

      4          A     She works     at Foster Jacob Electric.

      5          Q     Where did you go after letting off Noyalee?

      6          A     Back on Martin Street to Mr. Mills's              where I

      7    was staying at the time.

      8          Q     Were you staying in a room or sharing a room

      9    adjacent to his in that house?

     10          A     I had one upstairs.

     11          Q     Where was he sleeping then?

     12          A     Downstairs.
     13          Q     Were you paying him rent at that time?

     14          A     No.
     15          Q     Had you ever stayed with him before?
     16          A     No.
<
~
N
     17          Q     How long had you been staying with him at that
=
~
~
0
~
     18    particular time?
N


~    19          A     Approximately maybe a month.
z
     20          Q     So you went back to Mr. Mills's house, address
     21    to change clothes, is that correct?
     22          A     Yes.
     23          Q     Where did you go then?
     24
                 A     To work.

                                               -132-
    SAVORY-LL-000433
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      1            Q   Where is that?

      2            A   T. W. Parks Colonial Chapels.

      3            Q   Is that on Harmon Highway?

      4            A   MacArthur Highway.

      5            Q   Excuse me.     What is the address there?

      6            A   201 North MacArthur.

      7            Q   Approximately what time do you estimate that you

      8    arrived at work that morning?

      9            A   Approximately about 8, maybe 5 minutes either way.
     10            Q   Was anyone else there at the time you arrived?
     11            A   No.
     12            Q   Did anyone show up shortly thereafter?
     13            A   Mr. Parks came in about 8:15, between 8:15 and
     14    8:30,
     15            Q   This be T. W. Parks?
     lG            A   Yes.
<
~    17
=                  Q   Is he the owner of the establishment?
:
~    18
N
                   A   Yes.
0
0
~
0
     19            Q   Did you remain at work all day on January 18,
z
     20
           1977, Mr. Douglas?
     21
                   A   About 11:30 Mr. Parks and I went out to his house.
     22            Q   Mr. Parks's house?
     23
                   A   Yes, um-hum.
     24
                   Q   What did you do there?

                                              -133-
    SAVORY-LL-000434
              1:23-cv-01184-CRL-JEH # 318-13   Filed: 04/22/24   Page 16 of 45




         1          A     He fixed some polish sausage.           We ate polish

         2    sausage and drank beer for lunch, and went back to work.

         3          Q     And was that at Parks Funeral Home?

         4          A     Yes.

         5          Q     At any time after you left the residence at 3033

         6    West Garden Street on the morning of January 18, 1977, did

         7    you go back there until you went back that evening?

          8         A     No.

          9         Q     Approximately what time did you leave work that

        10    afternoon on January 18?

        11          A     About 10 minutes,    5 minutes to 4.
        12          Q     Where did you go when you left?
        13          A     Picked Noyalee up from work.
        14          Q     Did you go directly there?
        15          A     Yes, um-hum.
        Hi
                    Q     Did you pick her up at that time?
::"'    17
::!                 A     Yes.
."lt    18          Q     What happened then?
"'
0
0
~
0
        19          A     I come back by Jim's 66 and got 2 cans of heat
z
        20    for the cars at the funeral home.             I took them back by
        21    the funer~l home and dropped them off.
        2:2
                    Q     For whose car at the funeral home were you taking
        23
              that heat---
        24
                    A     For the cars at the funeral home, station wagon

                                                  -134-
       SAVORY-LL-000435
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          1    and Lincoln.

          2          Q    Had you been having trouble with those cars?

          3          A    No, we hadn't been having any, but he had been

          4    keeping heat in them at all times.

          5          Q    This was some sort of an additive that you would

          6    put in the gas tank---

          7          A    Yes, um-hum.

          8          Q    ---to keep the cars running in that weather?

          9          A    Yes, right.

         10          Q    Did you leave the heat off at the funeral home

         11    after buying it at the gas station?
         12          A    Yes.
        13           Q    Where did you go then?
        14           A    Went back to Noyalee's house.
         15          Q    4033---Excuse me.      3033 West Garden Street?
         16          A    Yes •
.
:        17          Q    Approximately what time did you arrive at the
:!
:E

"f       18    house that afternoon, Mr. Douglas?
N
0
::!0
         19          A    Approximately 4:20, somewhere around there.·
..;
z
        20           Q    What exactly did you do upon arriving?
        21           A    Got out and went up to the front door and knocked
        22     on the door and no one answered.            Looked in the mailbox
        23     for the key and it wasn't there.            Looked back through the
        24
               window and could see the key on the floor of the living

                                                  -135-
       SAVORY-LL-000436
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       1    room, you know, a mess.

       2            Q    Was the front door locked at that time?
       3            A    Yes.
       4            Q    When you had left that morning, had the front
       5    door been locked?
       6
                    A    Yeso
       7            Q    Had you known that it may have been a habit of
       8
            the family to keep a key in the mailbox if everyone was
       9
            gone?
      10
                    A    Yes.
      11
                    Q    Now, what did you see when you looked in the front
      12
            window of the residence at that time?
      13
                    A    The t.v. was off the table it sets on, and the
      14
            vacuum sweeper was out of the closet.                It was in the
      15
            hallway, and like I said, the key was on the floor.                  The
      16
            living room was just, looked like a mess, you know.
<
:     17
:!
                    Q    What if anything did you do then?
.."
~     18
..
0
                    A    We kept knocking and Noya went over to Pat
~     19
z           Adair Motors to use the phone to call and see if Connie
      20
            was over to Renetta's house.           That is a friend's house,
      21
            that she was over to the night before.
      22
                    Q    That be Renetta Williams?
      23
                    A    Yes, sir.
      24
                    Q    What happened then?

      SAVORY-LL-000437
                                                -136-
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      1            A   She came back and said that Renetta had been

      2    trying to call her all day and couldn't get in touch with

      3    her, and when she was coming around the front of the car

      4    she stopped by the garage door and went to pull it up

      5    and it went up about waist high.

      6            Q   What happened then?

      7            A   She sort of stepped back, because normally it's

      8    not open.         So I   went over and raised it up the rest of

      9    the way, and we went in the garage and I                 closed it.   And

     10    went into the house from the garage.

     11            Q   Did you go in through the door from the garage

     12    to that back room that you mentioned earlier?
     13            A   Yes, sir.

     14            Q   Who went in the door first as you recall, Mr.
     15    Douglas?
     16            A   I believe Noyalee did.
C
~    17
~
                   Q   What happened as you entered that back room?
z
~

~    18            A   We went around through the kitchen, and there was
     19    crackers and a lot of other stuff on the floor.
     20            Q   Had those items been there when you left that
     21    morning?
     22            A   No.
     23            Q   What if anything else did you do or what happened
     24
           next?

                                                -137-
    SAVORY-LL-000438
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      1          A     Nothing.    She stood there and started to pick

     2     that up, and I went on through the living room and looked

     3     around and that's when I walked to the bedroom door and

      4    opened it.

      5          Q     Which bedroom are you referring to sir?

      6          A     Bedroom number 1.

      7          Q     That's the same bedroom that Connie and her mother

      8    slept in the night before?

      9          A     Yes.

     10          Q     What if anything did you see when you opened

     11    that door?

    12           A     Scopie laying on the floor, and as I looked---
    13           Q     Did you see anything else?

    14           A     And as I looked around, I seen Connie laying on
     15    the other side of the room.
     16          Q     What condition were their bodies in?
<
:    17          A     It was full of blood.
=
z
s
f    18          Q     Was anyone else in that room when you first opened
N
0

~    19
~
           that door, Mr. Douglas?
i
    20           A     No, sir.
    21           Q     Were you the first one to go into that room?
    22           A     Yes, sir.
    23           Q     Was there anyone else in the house at all?
    24           A     Yes.

                                              -138-
    SAVORY-LL-000439
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        1           Q     Who?

        2           A     Corey.

        3           Q     That is the baby?

        4           A     The baby.

         5          Q     What iI' anything happened aI'ter you walked into

         6    that room and saw those bodies?

        7           A     I didn't walk completely into the room.                I   just

         8    opened it and maybe took a step, and when I noticed that

         9    I don't remember what I said, but Noyalee remembered I
        10    hollered, Oh, my God, or something, and I closed the door

        11    because she was on her way into the room.
       12           Q     Did you prevent her I'rom entering the room?
       13           A     Yes.
       14           Q     What happened next?
        15          A     I was getting ready to take her back into the
        16    other room when Corey hollered, Peter, and he was in the
<
:       17
:::!          other bedroom there and opened the---
        18
                    Q     Excuse me.   Would that be bedroom number 2 marked
        19    on that diagram?
       20           A     Yes.
       21           Q     V:iat did you do then?
       22           A     I opened the door and he was standing there with
       23     his arms up, and I picked him up and took him and Noya
       24
              both back into the kitchen and set them down, and I got

                                                 -139-
       SAVORY-LL-000440
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      1    on the phone trying to call the police, but I couldn't

      2    get anything, you know, the phore to work or anything.

      3            Q   Now, you found the baby, William Corey Cooper,

      4    in bedroom number 2, is that correct?

      5            A   Correct.

      6            Q   Where did you see him in that bedroom, sir?

      7            A   Pardon me.

      8            Q   Where exactly in that bedroom did you see the

      9    baby?

     10            A   He was standing right at the door.             Right as you

     11    open the door, he was standing right there.

     12            Q   Right near the doorway?
     13            A   Yes.
     14            Q   Was any other person in that bedroom at that time?
     15            A   No.
     16            Q   Anything at all in that bedroom other than the
<
~    17    baby that you noticed at that time?
=
z
«
0
~
     18            A   Just toys and stuff like that.
N
0
~
0
     19            Q   Did the baby appear to be harmed in any way?
~

i
     20            A   No.
     21            ~   You indicated you sat Mrs. Douglas and the baby
     22    down in the kitchen, and then attempted to make a phone
     23    call, is that right?
    24
                   A   Attempted to use the phone in the kitchen at

                                               -140-
    SAVORY-LL-000441
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           1       first, and I couldn't get it to work, and then I went to

           2       the one in the living room, and I           couldn't get it to

           3       work.       So I took the 2 of them outside and put them in

           4       the car and started the motor up, and I went across to

           5   •   Mr. Adair's and he called the police for me from there.

           6               Q   Did you attempt to call the police?

           7               A   I tried to call the police at first.              I    tried to

           8       dial 911, but I don't know, I didn't get anything on the

           9       phone.      I might have punched the wrong numbers or what.

          10               Q   Did Mr. Adair dial the police for you?

          11               A   Yes.

          12               Q   Were you present then?

          13               A   I was going out the door as he was dialing the

          14       number.
          15               Q   What happened next?
          16               A   Another gentleman there in the car lot asked if
          17       there was anything they could do to help, and I told them
"'ea:     18       I would appreciate it if they would, and he came around the
N
0
~
0
          19       house with me, and we left Noya and the baby still in
          20       the car, and there was a lady came around and sit in the
          21       car with Noya, and we went back inside.                And this gentle-

          22       man went over and he tried to see if he could get any
         23        kind of pulse off of either one of them.                By that time
         24
                   Mr. Adair came in and he said the police were on their way.

                                                      -141-
        SAVORY-LL-000442
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       1            Q   Did you go back into the house with these other

       2    gentlemen then?

       3            A   Yes.   Um-hum.

       4            Q   Did you direct them to the bedroom?

       5            A   Yes.

       6            Q   Did they go inside and actually attempt to find

       7    the pulse on either body?

       8            A   Yes, they did.

       9            Q   You were present for that?

      10            A   Yes.
      11            Q   What happened then, Mr. Douglas?
      12            A   I seen what was wrong with the phone.              The one
      13    in the bedroom was off the hook, and I asked this gentle-

      14    man, he was standing by, if he would put it back on the

      15    hook for me.
      16            Q   Which phone was this?
      17            A   The one in the bedroom.
."
a:
0
      18
                    Q   Bedroom number l?
N
0

~     19
                    A   Yes.
      20            Q   What happened then?
      21
                    A   He hung it up and we came out into the living room
      22
            and we stood there for a while waiting on the police to
      23
            come.
      24
                    Q   How long would you estimate it took the police

                                               -142-
     SAVORY-LL-000443
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      1    to arrive after you first went over to Mr. Adair?

      2            A    Anywhere from 5 to 10 minutes, I would say.

      3            Q    What happened when tbe police did arrive?

      4            A    He came---I met him in tbe yard and took bim in

      5    and I showed him the room, and after that he asked every-

      6    one to leave out of it, back out of it.                We went in the

      7    room.       We went in the hallway there between, you know

      8    step back outside, and be got on the radio, and I don't
      9    know, called someone.       I    don't know.       After that there
     10    was police coming from all over.
     11            Q   Did you remain outside from that time on?
     12            A    I went back inside one time to---they asked me
     13    to put the dog in the garage.
     14            Q   Did you do that?
     15            A   Yes.
     16
                   Q   Did you and tbe dog get along all right?
<
~    17
=                  A   Yes.
z
~
0
~    18
N
                   Q   Wbat was the name of the dog?
0
~
0
     19
                   A   Trouble Man.
z
     20
                   Q    How long had they had this dog?
     21
                   A   Trouble Man is about 3, 2 years old.              2    or 3.
     22
                   Q   You actually put the dog in the garage at the
     23
           request of the officers wben you went back in the house?
     24
                   A Yes.
                                               -143-
    SAVORY-LL-000444
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        1            Q   What happened then, Mr. Douglas?

        2            A   By then the other police officers were there,

        3    and they just asked everybody to stay back---my car was

        4    in the driveway---back by the car there.

        5            Q   Did you reenter the house at any time later that

        6    night?

        7            A   No.

        8            Q   Where if anywhere did you go later that evening?

        9            A   Went to the police station after that.

       10            Q   Did you go to the Peoria Police Department---

       11            A   Yes.

       12            Q   ---located at 542 Southwest Adams here in the
       13    city?

       14            A   Yes.
       15            Q   What happened there?
       16            A   Nothing.   We were asked to---a lot of questions
<(

::     17
:!           and this and the other.
."'
~      18            Q   Did you ever have occasion to go back to that
N
0
~
0
       19    residence after the date of January 18, 1977?
~

i
       20            A   Yes.
       21            Q   And for what purpose was that?
       22            A   To feed the dog.
       23            Q   When was that?
       24
                     A   That was the next day, I believe.

                                                  -144-
      SAVORY-LL-000445
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      1          Q     Any other time that you went to the residence?

     2           A     We went back, you know,      like say about every day

      3    to I'eed the dog, and you know, with police permission

      4    and everything, and then they would take us back down

      5    there, you know, going through, you know.

      6          Q     Did you ever live in that residence aI'ter the

      7    date oI' the incident?

      8          A     No.

      9          Q     Mr. Douglas, I'd like to show you some pictures

     10    that have already been admitted into evidence, initially
     11    People's Exhibit Number 6 and 7---First number 6 and ask
     12    you iI' you can identiI'y that.
    13           A     That's Connie Cooper.
    14           Q     Do you recognize it?
     15          A     Yes.
     16          Q     Is that the same Connie Cooper that you saw in
<
~    17    that bedroom when you entered it that aI'ternoon?
=
z
~
0
~    18          A     Yes,
N
0

~    19          Q     Did you see her move at all at the time you
    20     entered the bedroom that aI'ternoon?
    21           A     No, sir.
    22           Q     Did she appear dead to you?
    23
                 A     To me? Yes, sir.
    24
                 Q     Show you People's Exhibit Number 7 which has been

                                              -145-
    SAVORY-LL-000446
           1:23-cv-01184-CRL-JEH # 318-13   Filed: 04/22/24   Page 28 of 45




      1    admitted into evidence.          Would you tell us what that is?

      2          A     It's James Robinson.

      3          Q     This is the same James Robinson that you saw

      4    that afternoon when you entered this bedroom?

      0          A     Yes, sir, it is.

      6          Q     Where was his body located?

      7          A     It was just as you walk from the door, he was

      8    laying at the foot of the bed between the dresser and

      9    the bed.

     10          Q     Straight ahead as you walk in that door?

     11          A     As you open the door, straight ahead.

     12          Q     Would you please step off the stand and come over
     13    to the diagram and show us where you found the bodies?
     14    Step over here if you would please so we don't block the
     15    view of any of the jurors.         Indicate in the bedroom where
     16    you found each of these bodies?
.
<
N
     17          A     James's body was laying across here as you first
=
•
E
0
~    18    come in, and Connie was here by the closet.
N
0
~
0
     19          Q     Did you move the bodies at all?
     20          A     No.
     21          Q     Did you ever touch them?
     22          A     No.
     23
                 Q     Please retake the stand.        These other pictures
     24
           that have been admitted into evidence, Mr. Douglas,

                                              -146-
    SAVORY-LL-000447
           1:23-cv-01184-CRL-JEH # 318-13   Filed: 04/22/24   Page 29 of 45




      1    People's Exhibit Number 16, do you recognize that?

      2            A   Yes.   That's the kitchen. The crackers and all

      3    the stuff was on the floor when we came in.

      4            Q   Is this the condition you found the kitchen in

      5    when you came home that afternoon?

      6            A   Yes.

      7            Q   People's Exhibit Number 10 for identification,

      8    do you recognize that?

      9            A   Yes.
     10            Q   What is that?
     11            A   That's the table where the t.v. sits, and that's
     12    where it was off on the floor.
     13            Q   Had it been on that table that night or that
    14     morning when you left for work?
     15            A   It was on the table in the morning when we left.
     16
                   Q   Was it on there when you first came home that
C
~
N
     17    evening?
=
2
~

~    18
N
                   A   No, it wasn't.
0
~
0
     19
                   Q   Was it in this position?
z
     20            A   Yes, sir.
    21             Q    •e last picture that's been admitted into evidence,
    22
           Mr. Douglas, People's Exhibit Number 11, do you recognize
    23
           that?
    24
                   A   Yes.

                                              -147-
    SAVORY-LL-000448
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              1            Q   What is that?

              2            A   That's the t.v. and the vacuum sweeper that were

              3      both on the floor.       We could see through the window,

              4      looking in the window from outside.

              5            Q   And when you got inside and went into the bedroom,

              6      did you have occasion to observe these items again?

              7            A Yes, I had to step over the vacuum sweeper there.

              8            Q   And are all the items truly and accurately por-

              9      trayed in this picture?

             10            A   Yes.

             11            Q   That is as to the location that you saw them when

             12      you got home that afternoon?
             13            A   Yes.
             14            Q   Mr. Douglas, I have 2 other pictures I                 would

             15      like you to look at.          First, People's Exhibit 29 previously
             16      marked for identification, would you please take that
<
:            17      picture and tell us what it is.
.="'
.
0
             18            A   This is Scopie laying on the floor .
N
0
~       .
Q   ,
             19            Q   Does that picture truly and accurately describe
z
             20      his condition and the way you saw that body that day
             21      that you arrived, that afternoon?
             22            A   Yes.
             23            Q   You notice any differences about it?
             24            A   No.

                                                           -148-
        SAVORY-LL-000449
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      1           Q    People's Number 34 previously marked             I'or   identi-

      2    fication, Mr. Douglas, would you look at that and tell

      3    us please what it is?

      4           A    That's Connie.

      5           Q    And does that picture truly and accurately des-

      6    cribe the location of her body as you saw on that date

      7    when you entered that bedroom?

      8           A    Yes, sir.
      9           Q    You see any differences in it at all?
     10           A    No.   Only -difference is that the phone is on the
     11    hook here.
     12           Q    Was it initially when you entered that bedroom?
     13           A    No,   it wasn't on the hook.
     14           Q    Did you ask someone to place it on the hpok?
     15           A    Yes, the man that came back with me from Mr.
     16
           Adair's.
<
~    17
~                 Q    Not Mr. Adair, but the other man?
~
~

~    18
N
                  A    It was the other man.
0

~    19
                  Q    Your Honor, may the record reflect I'm giving
z
     20
            those pictures to defense counsel to observe.
     21
                  THE COURT:       It will so reflect.
     22
                  MR. GAUBAS:      Mr. Douglas, do you know who killed
     23
           Connie Cooper and James Robinson, Jr.?
     24
                  A    No, I don't.
                                                -149-
    SAVORY-LL-000450
            1:23-cv-01184-CRL-JEH # 318-13   Filed: 04/22/24   Page 32 of 45




      1            Q   Do you know of anyone who would want to kill

      2    Connie Cooper or James Robinson, Jr.?

      3            A   No, sir.

      4            Q   Had you heard of any problems that they were

      5    having prior to the date of the murder, January 18, 1977,

      6    from either of them?

      7            A   No, sir.

      8            Q   If I may have just a minute, Your Honor.                Your

      9    Honor, subject to the right of defense for cross-examination
     10    the People would offer Exhibits Numbers 29 and 34 prev-
     11    iously marked for identification into evidence at this
     12    time?
     13            THE COURT:     Okay.
     14            MR. GAUBAS:     We have no further questions for Mr.
     15    Douglas.
     16            THE COURT:     Thank you, Mr. Gaubas.           You may cross-
C
~    17
=          examine, Mr. Vieley.
2
~

~    18
N
0
~
0
     19    CROSS-EXAMINATION BY MR. VIELEY:
z
~




     20            Q   Mr. Douglas, what is your age?
     21            A   29.
     22            Q   Your approximate height?
     23
                   A   6 foot.
     24
                   Q   How much do you weigh,         sir?

                                               -150-
    SAVORY-LL-000451
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        1            A   About a hundred and eighty-five.

        2            Q   And were those your approximate height and weight

        3    on the date in question, namely, January the 18th of

        4    1977?

        5            A   Yes.   I was a little heavier, I believe.

        6            Q   What did you weigh       on January 18 o~ 1977?

        7            A   I was approximately 200.

        8            Q   Now, the victims      were no blood relation to you,

        9    were they?

       10            A   No, sir.

       11            Q   On the date in question you were employed by
       12    whom?
       13            A   T. W. Parks Colonial Chapels.
       14            Q   That's a funeral home, is it not?
       15            A   Yes.
       16            Q   And what was your duties there?
<
~      17
::!                  A   Delivery service.
.
"~
       18
                     Q   Did you perf'orm any other duties?
N
0
~
0
       19            A   No, sir.
       20            Q   Did you ever help embalm bodies?
       21            A   No, sir.
       22            Q   Now, are you familiar with a Lillian McKinley?
       23            A   No.
       24            Q   You know an Al Martin?

                                                 -151-
      SAVORY-LL-000452
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         1           A    No, sir.

         2           Q    Did you ever make this statement to Al Martin

         3    that you quote "like to cut up bodies?

         4           A    No.

         5           Q    Have you and Connie Cooper ever been to a bar

         6    called the Astra Lounge together?

         7           A    No.

         8           Q    Did you ever meet a man named Al Martin there?

         9           A    No.

        10           Q    Now, did you ever make a statement to Al Martin

        11    about Connie Cooper to the e.f.fect that quote "she thinks

        12    she's smart.      She is my bitch, and I'm going to have her
        13    one way or the other end quote."

        14          A     No.
        15          Q     On January 18 of 1977, were you the owner of
        16    a knife?
;:"'
        17          A     No.
::!

.."
0
        18          Q,    Were you the owner of a shotg~n?
N

~0
        19          A     No.
        20          Q     Did you have possession o.f a knife or a shotgun
        21    on that r19.te?
        22          A     No, sir.
        23          Q     Do you know a man by the name of Lawson?
        24          A     Excuse me?

                                                 -152-
       SAVORY-LL-000453
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         l•         Q     Do you know a man named Lawson, L-a-w-s-o-n?

         2          A     No, sir.

         3          Q     Now, you were once married to Nonie, is that

         4    correct?

         5          A     Correct.

         6          Q     And that marriage ended in August of 1976, is

         7    that correct?

         8          A     Yes, sir.

         9          Q     Now, during that marriage you had some problems

        10    with Connie, did you not?
        11          A     No, sir.
        12          Q     Have you ever had any argument with her?
        13          A     No.
        14          Q     You had a good and perfect relationship you are
        15    telling us today?
        16          A Yes, sir.
<
:       17
::!                 Q     Do you know a man by the name of Austin Irving?
,...
...0    18          A     I think---Yes, sir.
N
0
~
0
        19          Q     Now, he dated Nonie in the past, did he not?
~

i
        20          A     Not that I know of.
       21           Q     Has he ever been to Nonie's house?
        22          A     Yes.
       23           Q     Was he at Nonie's house before the murders?
       24           A     On that date or---

                                                 -153-
       SAVORY-LL-000454
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        1           Q    Or around that date?

        2           A    Not that I know of.

        3           Q    Have you ever seen him at Nonie's house?

        4           A    Yes.

        5           Q    When did you last see him there?

        6           A    A week, maybe a little longer before the murder.

        7           Q    Now, at that time were you dating Nonie and

        8     trying to get back together?

        9           A    We were seeing one another, yes.

       10           Q    So before the murders you had actually spent

       11    some evenings at the residence of 3033 West Garden, had

       12    you not?
       13           A    Yes, sir.
       14           Q    Now, is it true that prior to the murders that

       15     Connie Cooper had seen and dated a man by the name of

       16    Charles Watts whose nickname was Chuckie?
       17           A    Yes.
:!
."
~      18           Q    Do you know this gentleman?
N
0
...
0
0
       19           A    Yes.
       20           Q    Is it also true that he wanted to marrie Connie
       21     Cooper?
       22           A    I don't know about that?
       23           Q    Had you heard a rumor to that effect?
       24           A    No.

                                                  -154-
      SAVORY-LL-000455
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      1          Q     Is it also true that Connie and this man became

      2    engaged in a fight?

      3          A     No.

      4          Q     You know nothing of that?

      5          A     (no audible response).

      6          Q     What type of automobile did you say Austin

      7    Irving drives?

      8          A     I don't know.

      9          Q     Now, how many people to your knowledge on January
     10    18 of 1977, knew where the key was kept in the mailbox?
     11          A     I really couldn't say.
     12          Q     You had knowledge of that, did you not?
     13          A     Yes.
     14          Q     When did you first learn of that fact?
     15          A     I don't know.    It was one afternoon I was taking
     16    Connie to the doctor, and got back home, I seen when she
<
~    17
=          reached up in the mailbox and get the key out.
%
~

~    18          Q     Now, what month and year was that, sir, if you
I    19    please?
i
     20          A     I really don't remember.
     21          Q     Well, was it before Christmas of 1976?
     22          A     Yes, it was.    I think it was a little after
     23
           Thanksgiving.
     24
                 Q     So it would be in the fall of 1976 that you became

                                               -155-
    SAVORY-LL-000456
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       1    aware of where the key was?

       2          A     Yes, sir.

       3          Q     Did anyone else know where the key was to your

       4    knowledge?

       5          A     I don't know of anyone.

       6          Q     How about Austin Irving?          Did he know?

       7          A I don't know if he did or not.

       8          Q     Now, you were employed by T. W. Parks on the

       9    date of the murders, were you not?

      10          A     Yes.

      11          Q     And were you paid on an hourly basis?

      12          A     No, sir.
      13          Q     How were you paid if at all?

      14          A     Paid by commission, you know, funerals that I
      15    drive for and whatever.
      16          Q·    So in other words, every time there was a funeral,
<
:     17    you received some type of compensation?
z=
~
0
~
      18          A     Yes.
N
0
~
0
      19          Q     Now, is it your testimony that when you arrived
~

z
w     20
z
z
0
            on the scene on the afternoon of the 18th at about 4:30,
~
m
0u    21    the phone was off in the living room?
D
C
~
z
~
      22          A     No, sir.
      23          Q     Where was the phone off?
      24          A     In the bedroom.

                                              -156-
     SAVORY-LL-000457
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         1             Q   Are you certain of that?

         2             A   Yes, sir.

         3             Q   Now, if there were testimony that the phone were

         4    off the hook in the living room, in your opinion that

         5    would be incoreect?            Is that right?

         6             A   That is as far as I know.           It may have been off.

         7    I    don't know.        It wasn't completely off the hook.             It was

         8    ajar on there, but it was still on the cradle.

         9             Q   Now, you testified that you spent the entire

        10    evening of the 17th of January at this home, is that

        11    correct?
        12             A   Yes.
        13             Q   You slept on the couch?
        14             A   Yes.
        15             Q   And when you arose that morning, you used the
        16    bathroom, did you not?
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:       17
::!                    A   Yes.
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        18             Q   Did you take a bath?
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        19             A   No.       I just washed up.
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w       20
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z                      Q   Comb your hair?
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.;      21             A   "'r~s .
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l:'.
        22             Q   Brush your teeth?
        23             A   No.
        24
                       Q   Shave?

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         1           A    No.

         2           Q    But at any rate you used the bathroom, did you

         3    not?

         4           A    Yes.

         5           Q    Did anyone else use the bathroom to your knowledge

         6    that morning?

         7           A    Nonie used it.

         8           Q    What was the weather like on the date in question?

         9           A    It was cold, snow on the ground.
        10_          Q    How deep was the snow?
        11           A    It was pretty deep out in front of the house there.
        12           Q    A foot deep?
        13           A    No, I wouldn't say it was that deep.
        14           Q    Was it deep enough to show footprints?
        15           A    Yes, sir.
        16           Q    Now, you testified on direct examination that
;::"
        17    after this murder you came back to the house to feed the
::!
."'f    18
.             dog, is that correct?
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        19           A    On the 19th?
~

i
        20           Q    Yes.
        21           A    I believe it was the 19th when I went back, yes,
        22    sir.
        23           Q    And you were on a good relationship with the
        24
              dog in that it would not attack you when you came to the

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        1    house, is that correct?

        2             A   Before I    opened the door, garage door, I               talk

        3    to him, let him know who I was going into the garage.

        4             Q   And was that true before the murders when you

        5    visited the home on various occasions?

        6             A   Yes.

        7             Q   The dog did not bite you?

        8             A   Bite me?

        9             Q   Or attack you?

       10             A   No.

       11             Q   Now, you ~ere divorced in August of 1976, would

       12    you tell the jury please how many times you were at the

       13    home of 3033 West Garden up until the time of the mur-

       14    ders?

       15             A   It's hard to say how many exactly.                First time
       16    I    went there, I      believe, was Than!{sgiving.
<
::     17             Q   Did you stay all night at that time?
...
~      18             A   No.
N
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~
0
       19             Q   When was the next time you went there?
       20             A   I went there quite a few times between then and

       21    up until January.
       22             Q   Did you spend nights there?
       23             A   Some occasions I did, yes.
       24             Q   Now, during this period of time from say Thanksgiving

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         1     of 1976 up to the date of the murders,              to your knowledge

         2     was Nonie dating or seeing anyone else besides you?

         3           A    To my knowledge she wasn't, no.

         4           Q    Now, according to your testimony you were the

         5     first person in the afternoon to view the bodies, is

         6     that correct?

         7           A    Yes, sir.

         8           Q    And is it a fair statement to say that these

         9     bodies were horribly cut and mutilated?

        10           A    Yes, sir.

        11           Q    Were you upset when you saw these bodies?

        12           A    Yes, sir.
        13           Q    Was the funeral of these children held at T.W.

        14     Parks?

        15           A    No, it wasn't.
        16           Q    Did Mr. Parks in any way participate in the fun-
<
:       17     eral ceremony?
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.."f    18           A    Yes.   He conducted the funeral service.
N
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        19           Q    To your knowledge, on the date of the murders,

        20     was the back door or any other door left unlocked?

        21           A    No, not to my knowledge.
        22           Q    You're telling. us then that to your knowledge
        23     every door in the house, both front and back, was locked
        24    when you lef't?

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      1           A    I couldn't say about the back one.              I didn't even

      2     go back to the back one, the back door.                But as we went

      3     out the front door, I remember I tried it after I got

      4     outside to make sure it was locked.

      5           Q    It's your testimony that you had an excellent

      6     relationship with these children?

      7           A    Pardon me?

       8          Q    It's your testimony that you had an excellent

       9    relationship with these children?

     10           A    Yes, sir.

     11           Q    That's all we have.       Thank you.

     12           THE COURT:       Anything else, Mr. Gaubas?
     13           MR. GAUBAS:       A few questions in redirect, Your

     14     Honor.
     15

      16    REDIRECT EXAMINATION BY MR. GAUBAS:
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:     17          Q    Mr. Douglas, following up on that last question,
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     18     are you certain or do you know whether or not the garage
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     19     door was locked that day when you left that morning?
     20           A    I couldn't say for certain.
     21           Q    You didn't try it?
     22           A    I never seen the garage door open.
     23           Q    But you're not certain on that date?
     24           A    No, sir.

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       1          Q    Directing your attention to the living room

       2    phone, you said you tried that phone, tried to call out?

       3          A    I tried it after I tried the one in the kitchen.

       4          Q    When you first picked it up, did it appear to

       5    you to be ajar or off the receiver?

       6          A    I can't recall.       If I'm not mistaken, when we

       7    were looking in the window, it looked like it was.                  It

       8    wasn't completely off the cradle.              It was one of those

       9    French phones, and it looked like one end was up higher

      10    than the other was all.

      11          Q    You were asked on cross-examination whether you

      12    used that bathroom that morning before you left for work.
      13    Did you see either of the kids using the bathroom that

      14    morning?
      15          A    No.
      16          Q    When the defendant, Johnny Savory, was there the
<
~     17    night before, January 17, did you see him use the bath-
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f     18    room that night?
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      19          A    No, sir.
      20          Q    I think that will be all for Mr. Douglas, Your
      21    Honor.
      22          THE COURT:      Mr. Vieley, anything else?
      23          MR. VIELEY:     Just one question.
     24

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           1    RECROSS-EXAMINATION BY MR. VIELEY:

           2          Q     You weren't there all the time that Johnny Savory

           3    was there on the evening of the 17th, were you?

           4          A     Yes.

           5          Q     You were?

           6          A     Yes.

           7          Q     You're saying you were there when he arrived?

           8          A     I was there when be arrived, and I was there when

           9    he lef't.

          10          Q     And there when he left.         And during this time

          11    you were watching t.v. during some of this time, were
          12    you not?
          13          A     Yes, most of the time.

          14          Q     Thank you.
          15          THE COURT:        That's all.
          16                                                   WITNESS EXCUSED.
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          18          THE COURT:        Any objection to the admissibility of
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C)
          19    People's Exhibits 29 and 34?
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          20          MR. VIELEY:        Well, yes, I think we ought to make a
          21    little record of this, Judge.
          22          THE COURT:        I'll excuse the jury for just a few
          23    minutes, please.
          24

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